                  Case 22-11068-KBO              Doc 29993        Filed 03/26/25         Page 1 of 2




                          IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE

    In re:                                                        Chapter 11

    FTX TRADING LTD., et al., 1                                   Case No. 22-11068 (KBO)

             Debtors.                                             (Jointly Administered)


     NOTICE OF AGENDA FOR STATUS CONFERENCE SCHEDULED FOR
MARCH 28, 2025 AT 1:00 P.M. (ET), BEFORE THE HONORABLE KAREN B. OWENS,
  CHIEF JUDGE, AT THE UNITED STATES BANKRUPTCY COURT FOR THE
 DISTRICT OF DELAWARE, LOCATED AT 824 NORTH MARKET STREET, 6TH
       FLOOR, COURTROOM NO. 3, WILMINGTON, DELAWARE 19801


                          This proceeding will be conducted remotely via Zoom.

                   Please refer to Judge Owens’s Chambers Procedures
   (https://www.deb.uscourts.gov/content/judge-karen-b-owens) and the Court’s website
   (https://www.deb.uscourts.gov/ecourt-appearances) for information on the method of
allowed participation (video or audio), Judge Owens’s expectations of remote participants,
                        and the advance registration requirements.

      Registration is required by 4:00 p.m. (ET) the business day before the hearing unless
      otherwise noticed using the eCourtAppearances tool available on the Court’s website.


STATUS CONFERENCE:

1.           Order Setting Remote Status Conference [D.I. 29943, entered on March 18, 2025]

             Status: This matter is going forward as a status conference.




1      The last four digits of FTX Trading Ltd.’s FTX Trading Ltd.’s and Alameda Research LLC’s tax identification
       number are 3288 and 4063 respectively. Due to the large number of debtor entities in these Chapter 11 cases, a
       complete list of the Debtors and the last four digits of their federal tax identification numbers is not provided
       herein. A complete list of such information may be obtained on the website of the Debtors’ claims and noticing
       agent at https://cases.ra.kroll.com/FTX.



{1368.003-W0080523.}
               Case 22-11068-KBO   Doc 29993   Filed 03/26/25   Page 2 of 2




 Dated: March 26, 2025                    LANDIS RATH & COBB LLP
       Wilmington, Delaware
                                          /s/ Matthew R. Pierce
                                          Adam G. Landis (No. 3407)
                                          Matthew B. McGuire (No. 4366)
                                          Kimberly A. Brown (No. 5138)
                                          Matthew R. Pierce (No. 5946)
                                          919 Market Street, Suite 1800
                                          Wilmington, Delaware 19801
                                          Telephone: (302) 467-4400
                                          Facsimile: (302) 467-4450
                                          E-mail: landis@lrclaw.com
                                                  mcguire@lrclaw.com
                                                  brown@lrclaw.com
                                                  pierce@lrclaw.com

                                          -and-

                                          SULLIVAN & CROMWELL LLP
                                          Andrew G. Dietderich (admitted pro hac vice)
                                          James L. Bromley (admitted pro hac vice)
                                          Brian D. Glueckstein (admitted pro hac vice)
                                          Christian P. Jensen (admitted pro hac vice)
                                          125 Broad Street
                                          New York, NY 10004
                                          Telephone: (212) 558-4000
                                          Facsimile: (212) 558-3588
                                          E-mail: dietdericha@sullcrom.com
                                                  bromleyj@sullcrom.com
                                                  gluecksteinb@sullcrom.com
                                                  jensenc@sullcrom.com

                                          Counsel for the FTX Recovery Trust




{1368.003-W0080523.}                      2
